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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


HON. BENNIE G. THOMPSON,
in his personal capacity, Et al.                              Civil Action No. 1:21-cv-00400-APM


                             Plaintiffs,                               responding to the
           v.                                                       AMENDED COMPLAINT

DONALD J. TRUMP, “solely in his personal capacity”
                                                               Plaintiffs Requested Trial by Jury
                            Defendants.



                 MOTION FOR WITHDRAWAL OF JONATHON MOSELEY
                FROM REPRESENTING DEFENDANT OATH KEEPERS, LLC


       COMES NOW JONATHON MOSELEY, as counsel for the Defendant Oath Keepers,

LLC, and hereby moves the Court for an Order of withdrawal of counsel from this civil lawsuit,

and for his grounds files his companion Memorandum of Law.

Dated: July 13, 2022                  Respectfully submitted, JONATHON MOSELEY


                                              /s/ Jonathon Moseley
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                                CERTIFICATE OF SERVICE

        I hereby certify that on July 13, 2022, I electronically filed the foregoing document with
the Clerk of the Court by using the CM/ECF system, which will send a notice of electronic filing
to the following CM/ECF participant(s), and also mailed a copy to the following by first class
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U.S. mail, postage prepaid, one single copy to each law firm for distribution internally to all
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                                             /s/ Jonathon Moseley




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